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                                UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF NEW YORK

JOHN M. DOMURAD                                                                 Alexander Pirnie Federal Building
Clerk                                                                           10 Broad Street
                                                                                Utica, NY 13501
DANIEL R. MCALLISTER                                                            (315) 793-8151
Chief Deputy

                                                 October 19, 2020

        Mark L. Rienzi, Esq.
        The Becket Fund for Religious Liberty
        1200 New Hampshire Ave. NW, Suite 700
        Washington, DC 20036

        Josh Blackman, Esq.
        Jewish Coalition for Religious Liberty
        1303 San Jacinto Street
        Houston, TX 77002

        RE: Yitzchok Lebovits, et al. vs. Andrew M. Cuomo, et al.
        NYND CASE NO. 1:20-CV-1284 (GLS/DJS)

        Dear Sir or Madam:

        Please be advised that the above case was filed October 16, 2020, in the Northern District of
        New York. You are directed to advise this Court in writing, within fourteen (14) days from the
        date of this Notice, if you will remain as counsel of record, and if so, your formal admission is
        required.

        As of January 16, 2018, the Northern District of New York became a NextGen Court. This
        means all attorneys MUST have an individual PACER account, and request admission via
        PACER. If you will be seeking Permanent Admission, instructions can be found on our website
        at: http://www.nynd.uscourts.gov/sites/nynd/files/Permanent_Admission_Instructions.pdf. If you
        will be seeking Pro Hac Vice Admission, instructions can be found by using the following link:
        http://www.nynd.uscourts.gov/sites/nynd/files/PHV_Admission_Instructions.pdf. Otherwise, new
        counsel should file a notice of appearance as soon as possible.

        The parties are advised that all future filings and inquiries should be made in accordance with the
        Local Rules of this Court, and that all documents filed with the Court shall contain the case
        number listed above.

                                                         Very Truly Yours,

                                                         JOHN M. DOMURAD, CLERK

                                                         By: s/ Helen M. Reese,
                                                                Case Processing Specialist

        cc: Eric C. Rassbach, Esq. (via CM/ECF)
            NDNY File
